        Case 3:08-cr-00022-LC        Document 244          Filed 07/17/08      Page 1 of 1




                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF FLORIDA
                              PENSACOLA DIVISION

UNITED STATES OF AMERICA

       VS                                                               CASE NO. 3:08cr22 LAC

JOHN MOSMAN

                                  REFERRAL AND ORDER

Referred to Judge Lacey Collier on July 8, 2008
Motion/Pleadings: STIPULATION FOR SUBSITUTION OF COUNSEL (that atty Kypreos be
allowed to withdraw and that atty Polk be substituted)
Filed by DEFENDANT                          on 7/1/08  Doc.# 218

RESPONSES:
                                               on                      Doc.#
                                               on                      Doc.#
        Stipulated             Joint Pldg.
        Unopposed              Consented
                                               WILLIAM M. McCOOL, CLERK OF COURT

                                               s/Mary Maloy
LC (1 OR 2)                                    Deputy Clerk: Mary Maloy

                                             ORDER
Upon   consideration      of   the   foregoing,       it   is    ORDERED    this   17 th   day   of
July, 2008, that:
(a) The relief requested is GRANTED.
(b)




                                                                s /L.A. Collier
                                                              LACEY A. COLLIER
                                                    Senior United States District Judge

Entered On Docket:                    By:
Rules 58 & 79(a) FRCP or 32(d)(1) & 55 FRCRP
Copies sent to:




                               Document No.
